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                       IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                         :           CRIMINAL NO: 22-023(TFH)
                                                         :
               v.                                :
                                                 :
CHRISTOPHER LOGSDON                              :
TINA LOGSDON,                                    :
                                                 :
                      Defendants.                :


                                            ORDER

       1. Upon a representation by the United States that the defendants have never been the

subject of “routine processing” (booking, fingerprinting, photographing) in this case:


       2. It is the 3rd day of February, 2022 ORDERED:


       3. That since the defendants have been released on bond, on FEBRUARY 8, 2022, at 9:30

a.m., they shall go to the U.S. Marshals offices located at 301 W. Main Street, Benton, IL, to meet

with a Deputy United States Marshal for “routine processing.”




                                             ____________________________________
                                             THOMAS F. HOGAN
                                             UNITED STATES DISTRICT JUDGE
